                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION

                                         NO.5:07-CV-117-FL



 UNITED STATES OF AMERICA,                      )
                                                )
                   Plaintiff,                   )
                                                )
        v.                                      )               ORDER AND
                                                )          PERMANENT INJUNCTION
 RAYMOND A. RENFROW,                            )
 individually and d/b/a IDEAL TAX               )
 SERVICES and FIRST CLASS                       )
 LIMOUSINE,                                     )
                                                )
                       Defendant.               )


        This matter is before the court on plaintiffs motion for summary judgment (DE #25). This

court referred the motion to Magistrate Judge James E. Gates for review and recommendation,

pursuant to 28 U.S.c. § 636(b)( 1)(B). Through memorandum and recommendation ("M&R") issued

January 26,2009 (DE #36), the magistrate judge recommends that plaintiffs motion be allowed.

No objections to the M&R have been filed, and the time within which to make any objection has

expired. This matter is ri pe for rul ing.

        A full and careful review ofthe M&R and other documents ofrecord convinces the court that

the recommendation of the magistrate judgc is, in all respects, in accordance with the law and should

be approved.     Accordingly, the court hereby adopts the findings and recommendation of the

magistrate judge as its own, and for the reasons stated in the M&R, plaintiffs motion for summary

judgment is GRANTED.




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       It is therefore ORDERED, pursuant to 26 U.S.C. §§ 7402,7407, and 7408, that defendant

Renfrow, Ideal Tax Services, and First Class Limousine, and their agents, representatives,

employees, successors, and all other persons or entities in active concert or participation \\ith

defendant Renfrow, Ideal Tax Services, First Class Limousine, or any of them, are permanently

enjoined from:

(a)    preparing, assisting in the preparation of, or directing the preparation or filing of federal tax

       returns or forms on behalf of any person or entity other than defendant;

(b)    giving any tax advice to any other person or entity for pay;

(c)    appearing as a representative on behalf of any person or entity before the Internal Revenue

       Service;

(d)    engaging in conduct subject to penalty under I.R.C. § 6701, including preparing or assisting

       in the preparation ofa document related to a matter material to the internal revenue laws that

       includes a position that defendant knows would, if used, result in an understatement of

       another person's tax liability;

(e)    organizing, promoting, marketing, or selling any tax shelter, entity, plan, or arrangement that

       advises or assists customers to attempt to violate the internal revenue laws or unlawfully

       evade the assessment or collection of their federal tax liabilities, including by means of

       complex trust programs;

(f)    engaging in conduct subject to penalty under I.R.c. § 6700, including making, furnishing,

       or causing another person to make or furnish statements about the allowability of any

       deduction, credit, or the securing of any tax benefit by reason ofparticipating in a tax shelter,




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      entity, plan, or arrangement, that defendant knows or has reason to know is false or

      fraudulent;

(g)   telling customers that they may continue to control and receive beneficial enjoyment from

      assets irrevocably transferred to a trust without regard to the grantor trust rules ofI.R.C. §§

      673 through 677;

(h)   telling customers that personal residences can be transferred to a trust for the purpose of

      claiming tax deductions for personal expenses in order to reduce federal tax liability;

(i)   telling customers that the purchase of American Silver Eagle coins is a deductible business

      expense;

(j)   engaging in any other conduct subject to any penalty under the Internal Revenue Code or any

      other conduct that interferes with the administration and/or enforcement of the internal

      revenue laws; and

(k)   engaging in any of the activities listed in paragraphs (a) through (j) above through the use of

      any other individual or entity.

      IT IS FURTHER ORDERED that:

(1)   within thirty (30) days of entry of this order, defendant must file with the court and

      provide to plaintiffs counsel a complete list of customers (including names, addresses,

      phone numbers, e-mail addresses, and social security numbers or employer identification

      numbers) for whom defendant has prepared individual or trust federal income tax returns,

      or whom defendant has assisted in the creation of any trust entity;




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(m)   within thirty (30) days ofentry of this order, defendant must, at his own expense, provide

      a copy of the complaint and this injunction to each of his customers, employees, and

      associates, both current and former;

(n)   within forty-five (45) days of entry of this order, defendant must provide evidence of his

      compliance with the foregoing paragraph by filing a declaration with this court setting out

      a complete list of names and addresses of individuals or entities to whom he has mailed a

      copy of the complaint and injunction in this action; and

(0)   the United States shall be permitted to engage in post-injunction discovery to monitor

      defendant's compliance with this and any other order entered by this court.

      SO ORDERED, this the     ~J,. day of March, 2009.


                                             LOUISE W. FLANA A;-I
                                             United States District Judge




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